                 Case 2:21-cv-01392-RGK-KS
Electronically FILED by $                                           Document
                         Court of California, County of Los Angeles on 01/13/2021 03:501-3
                                                                                        PM Sherri Filed
                                                                                                  R. Carter,02/16/21            Page
                                                                                                            Executive Officer/Clerk       1 byofC.38
                                                                                                                                    of Court,           Page ID
                                                                                                                                                  Monroe,Deputy
                           ~                                                         #:87
                                                                               21STCV01490
                                     Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Fernando Aenlle-Rocha




                    1       Law Offices of Angel J. Horacek, PC
                            Angel J. Horacek (SBN 245680)
                    2       angel@horaceklaw.com
                            5701 West Slauson Avenue, Suite 210
                    3       Culver City, CA 90230
                            310-774-0323
                    4       310-774-3945 fax
                    5       Attorney for Plaintiff Kim Qualls
                    6

                    7

                    8                                         SUPERIOR COURT OF CALIFORNIA
                    9        COUNTY OF LOS ANGELES — CENTRAL DISTRICT, UNLIMITED JURISDICTION
                   10

                   11       KIM QUALLS, an individual,                                     Case No.:        2 1 ST C ,,rrr 0 1 49 0
                   12                         Plaintiff,                                   COMPLAINT FOR DAMAGES
                                    V.
                   13                                                                      1. Racial Discrimination and Harassment in
                            COLOPLAST CORP., a corporation, and                               Violation of Title VII
                   14
                            DOES 1 to 20, inclusive,                                       2. Retaliation in Violation of Title VII
                   15                                                                      3. Retaliation in Violation of California Labor
                                                                                              Code § 1102.5
                   16                         Defendants.                                  4. Violation of California Equal Pay Act
                                                                                           5. Wrongful Discharge in Violation of Public
                   17
                                                                                              Policy
                   18                                                                      6. Unfair Business Practices

                   19                                                                      DEMAND FOR JURY TRL4L
                   20
                                    Now comes Plaintiff Kim Qualls and alleges:
                   21
                                                                          NATURE OF ACTION
                   22
                                    1.       Plaintiff Kim Qualls (hereinafter "Plaintiff' or "Qualls") brings this action
                   23
                            against Defendants Coloplast Corp. (hereinafter "Coloplast"), and DOES 1 to 20, inclusive,
                   24
                            seeking, among other things, statutory and compensatory damages arising out of Defendants'
                   25
                            violation of the Title VII, codified at 42 USC 2000e, et al. , Defendants' violation of the
                   26
                            I California Labor Code, wrongful termination in violation of public policy, unfair business
                   27
                            I practices, and related damages.
                   28

                                                                                           1
                                                                         COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS            Document 1-3        Filed 02/16/21       Page 2 of 38 Page ID
                                             #:88




 1          2.      During Plaintiff's employ with Coloplast, Plaintiff was subject to a pattern of
 2   racial harassment and discrimination from the date of orientation through her employment by
 3   her direct manager, and Coloplast did nothing to prevent or correct the harassment or
 4   discrimination.
 5          3.      On or about January 25, 2019, Plaintiff was terminated from employment in
 6   violation of public policy and following her report of suspected legal violations to Defendant
 7   Coloplast, and its resulting inaction.
 8                                            THE PARTIES
 9          4.      At all times herein mentioned Plaintiff Kim Qualls, an individual, (hereafter
lo   "Plaintiff') was a resident of the County of Los Angeles, and a citizen of the State of
11   California.
12          5.      Plaintiff is informed and believes that at all times herein mentioned Defendant
13   Coloplast, was a corporation headquartered in Minnesota and doing business in the state of
14   California.
15          6.      The operative facts set forth below giving rise to these causes of action occurred
16   in the County of Los Angeles.
17          7.      Plaintiff is ignorant of the true names and capacities of defendants sued herein
18   as Does 1 to 20, inclusive, and therefore sues these defendants by such fictitious names.
19   Plaintiff will amend this complaint to allege their true names and capacities when ascertained.
20          8.      Plaintiff is informed and believes, and thereon alleges, that, at all times herein
21   mentioned, each of the defendants sued herein was the agent and employee of each of the
22   remaining defendants and was at all times acting within the purpose and scope of such agency
23   and employment.
24                                   JURISDICTION AND VENUE
25          9.      Pursuant to Article VI, §10 of the California Constitution, subject matter
26   jurisdiction is proper in the Superior Court of California, County of Los Angeles, State of
27   California.
28


                                                   2
                                         COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS            Document 1-3        Filed 02/16/21       Page 3 of 38 Page ID
                                             #:89




 1           10.    Pursuant to §§395 and 395.5 of the California Code of Civil Procedure, venue is
 2   proper in the Superior Court of California for the County of Los Angeles, State of California,
 3   because this is where Plaintiff was employed, it is where the wrongful misconduct alleged
 4   occurred, and it is where Defendants do business.
 5                                    FACTUAL ALLEGATIONS
 6           11.    Coloplast is a Danish multinational company that develops, manufactures and
 7   markets medical devices and services related to ostomy, urology, continence, and wound care.
 s   Coloplast's North American operations are based in Minneapolis, Minnesota.
 9           12.     Kim Qualls ("Plaintiff') began working at Coloplast in December 2016. She            I
lo   was hired as a Territory Manager, which is a sales representative position. During her time at
11   Coloplast, she was supervised by Rita Gayman, manager. Once Plaintiff started at Coloplast,
12   she heard other Coloplast personnel refer to Gayman as "unenlightened" and "racist," and they
13   warned Plaintiff about Gayman.
14           13.    As a part of her duties at Coloplast, Plaintiff attended national meetings. Other
15   sales representatives told her that she was the first Black Coloplast sales representative.
16   Another sales representative, Susan Ross, told Plaintiff that she did not realize that slavery was
17   so bad, and apologized to her for slavery, which was a complete non sequituY. Both of these
18   instances were alarming to Plaintiff, because the comments were completely unsolicited.
19           14.    Although Plaintiff did not feel that due to being a Black sales representative, she
20   would necessarily experience discrimination, Plaintiff became concerned that she was, in fact,
21   being treated differently by her peers because coworkers felt that they could say these things to
22   her apropos of nothing, and that because she was the only Black sales representative present,
23   these comments were targeted at her and only her.
24           15.    Plaintiff was an experienced salesperson and knew that she had the skills to
25   perform well at Coloplast. Plaintiff tried to just keep her focus on performing her job, but
26   Gayman constantly picked on Plaintiff and treated her differently than other people on her
27   team.
28


                                                  3
                                        COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS             Document 1-3        Filed 02/16/21       Page 4 of 38 Page ID
                                              #:90




 1           16.     Gayman was based in Las Vegas but oversaw Southern California as part of her
 2   sales territory. The sales territories were divided by zip codes and distributed to sales
 3   representatives.
 4           17.     When Gayman visited Los Angeles, Gayman expected Plaintiff to chauffer her
 5   around Southern California on days that Plaintiff was not scheduled to work with Gayman.
 6   This interfered with Plaintiff ability to be productive in her job, as Plaintiff needed to focus on
 7   sales in her own territories rather than driving Gayman around.
 8           18.     Plaintiff brought this to Gayman's attention, and suggested that she find an
 9   alternative transportation option, such as taking Uber. Gayman laughed at Plaintiff, and said
 lo I she didn't want to take Uber, indicating that she prefei-red to have Plaintiff continue to act as
11   Gayman's personal chauffer.
12           19.     Gayman told Plaintiff that she was "offended" at the suggestion that she take
13   Uber, and that Plaintiff was being "disobedient" by resisting being her chauffer. However,
14   other sales representatives were not expected to chauffer Gayman, and in fact, did not chauffer
15   Gayman around Southern California.
16           20.     Plaintiff found that Gayman appeared to treat her differently because she was
17   Black. Gayman would repeatedly talk to Plaintiff while discussing sales and state, "You people
18   don't get it," "you people don't seem to comprehend," and "you people aren't doing it right."
19   Plaintiff was the only other person present when Gayman would say this, so she understood the
20   term "you people" as not referring to the existence of other Coloplast sales representative, but
21   something different. Plaintiff asked other representatives if Gayman said this to them, and they
22   denied that she had.
23           21.     Gayman harassed two other non-white representatives that were based in San
24   Diego and ultimately terminated their employment.
25           22.     Gayman's direct report Keith Williams constantly confused Plaintiff and
26   another Black Coloplast employee in Atlanta.
27           23.     In 2018, Gayman denied Plaintiff's annual raise. The reason that Gayman told
28   Plaintiff that she denied the raise was not related to performance, revenue generation, or some

                                                    4
                                         COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS             Document 1-3       Filed 02/16/21      Page 5 of 38 Page ID
                                              #:91




 1   other sales metric, but because Plaintiff sent an internal email to customer service that
 2   contained yellow highlighting.
 3          24.     Gayman had never counseled Plaintiff that was inappropriate. In fact, Gayman
 4   herself consistently used yellow and red highlights in her emails to the team and customer
 5   service on a regular basis. Plaintiff has received emails from other persons in Coloplast which
 6   have highlighting, including from Gayman herself.
 7          25.     Plaintiff complained to Gayman that the failure to provide the annual raise in
 8   2018 was unfair, and that to deny the raise based on highlighting in emails was unfair.
 9          26.     Thereafter, Gayman changed Plaintiff's sales territory by removing certain zip
lo   codes, and giving them to a white man, such that Plaintiff was no longer at her sales goal and
11   would fail to make quota.
12          27.     Plaintiff asked Gayman to replace the zip codes that she removed, but Gayman
13   never replaced those zip codes. Additionally, Gayman further adjusted Plaintiff's sales quota
14   which decreased Plaintiff's numbers even further.
15          28.     Normally, Coloplast would place an underperforming sales representative on a
16   performance plan. However, Gayman did not put Plaintiff on a performance improvement pla
17          29.     Gayman also reprimanded Plaintiff for using her company credit card for
18   personal expenses, but the company handbook allows this as long as the employee reimburses
19   the personal expenses and repays the company. When Plaintiff raised this issue with Gayman,
20   Gayman stated that Plaintiff needed to "obey" her, no matter what the policy said.
21          30.     As late as January 2019, Gayman rated Plaintiff with an overall score of 2.58 of
22   four, with no indication of imminent termination.
23          31.     Abruptly, Gayman terminated Plaintiff, purportedly due to her sales numbers,
24   and because of the "disrespect" shown in highlighted emails. But Gayman created the
25   condition for Plaintiff's sales numbers to be artificially low because Gayman removed zip
26   codes from Plaintiff's territory, failed to provide Plaintiff's replacement zip codes in which to
27   make up the difference, and changed Plaintiff's sales quota.
28

                                                     5
                                        COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS             Document 1-3         Filed 02/16/21      Page 6 of 38 Page ID
                                              #:92




             32.     Other non-Black employees had lower sales numbers that Plaintiff but were not I
 2    terminated.
 3           33.     Plaintiff filed a charge with the Equal Employment Opportunity Commission
 4    ("EEOC") on August 30, 2019. The EEOC issued a Notice of Right to Sue on October 28,
 5    2020. Plaintiff has therefore exhausted her administrative remedies. A true and correct copy of
 6    this Notice of Right to Sue is attached hereto as Exhibit "A."
 7                                      FIRST CAUSE OF ACTION
 8         RACIAL DISCRIMINATION AND HARASSMENT IN VIOLATION OF TITLE VII
 9                                       [42 U.S.C. §2000E-2(a)(1)1
10                                        (Against All Defendants)
11           34.     Plaintiff incorporates the previous paragraphs as if recited fully herein.
12           35.     Defendants are employers.
13           36.     Plaintiff was an employee of Defendants.
14           37.     Plaintiff is a Black woman.
15           38.     At all times during her employment, Plaintiff performed her role competently
 16   and adequately, achieving a rating over 2.58 of four in January 2019.
 17          39.     Defendants took adverse employment actions against Plaintiff, including, but
 18   not limited to, repeatedly talking to her about slavery, reducing Plaintiff's sales territory, and
 19   giving it to a white man, forcing Plaintiff to chauffer her manager around the sales area, failing
20    to not give her an earned raise, and ultimately deciding to end Plaintiff's employment, despite
 21   the fact that other non-Black salespersons at Coloplast had worse sales numbers.
 22          40.     The fact that Plaintiff is a Black woman was a motivating reason for the adverse
 23   employment actions of Defendants against Plaintiff.
 24          41.     Plaintiff was harmed.
 25          42.     Plaintiff was harmed by the actions of Defendants.
 26          43.     The conduct of Defendants was a substantial factor in causing Plaintiff's harm.
 27

 28


                                                    6
                                          COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS              Document 1-3        Filed 02/16/21       Page 7 of 38 Page ID
                                               #:93




 1           44.      As a direct and proximate result of the willful, knowing, and intentional actions
 2    of Defendants against her, Plaintiff has suffered and will continue to suffer economic and non-
 3    economic damages in amounts to be proven at trial.
 4'          45.      As a direct and proximate result of the willful, knowing, and intentional actions
 5    of Defendants against her, Plaintiff has suffered a loss of earnings and other employment
 6    benefits and job opportunities, with such damages in amounts to be proven at trial.
 7           46.      Plaintiff is informed and believes and based thereon alleges that the conduct of
 8    Defendants described above was done with malice, fraud, and oppression and with conscious
 9    disregard for her rights and with the intent, design and purpose of injuring her. By reason
lo    thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum
11    according to proof at trial.
12                                     SECOND CAUSE OF ACTION
13                 RETALIATION IN VIOLATION OF TITLE VII [42 U.S.C. §2000E-3(all
14                                         (Against All Defendants)
15           47.      Plaintiff incorporates the previous paragraphs as if recited fully herein.
16           48.      Defendants are employers.
17           49.      Plaintiff was an employee of Defendants.
 18          50.      Plaintiff is a Black woman.
19           51.      At all times during her employment, Plaintiff performed her role competently
20    and adequately, achieving a rating over 2.58 of four in January 2019.
21           52.      Defendants took adverse employment actions against Plaintiff, including, but
22    not limited to, repeatedly talking to her about slavery, forcing Plaintiff to chauffer her manager
23    around the sales area, failing to not give her an earned raise, despite the fact that other non-
24    Black salespersons at Coloplast had worse sales numbers.
25           53.      Plaintiff complained to her manager about these adverse employment actions as
26    discriminatory and harassing.
27

28


                                                     7
                                          COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS             Document 1-3         Filed 02/16/21      Page 8 of 38 Page ID
                                              #:94




 1           54.    Defendants took further adverse employment actions against Plaintiff, including,
 2   but not limited to, reducing Plaintiff's sales territory, and giving it to a white man, failing to
 3   not give her an earned raise, and ultimately deciding to end Plaintiff's employment.
 4           55.     The fact that Plaintiff reported and complained about discriminating and
 5   harassing treatment was a motivating reason for the adverse employment actions of Defendants
 6   against Plaintiff.
 7           56.     Plaintiff was harmed by the actions of Defendants.
 8           57.     The conduct of Defendants was a substantial factor in causing Plaintiff's harm.
 9           58.     As a direct and proximate result of the willful, knowing, and intentional actions
lo   by Defendants against her, Plaintiff has suffered and will continue to suffer economic and non-
11   economic damages in amounts to be proven at trial.
12           59.     As a direct and proximate result of the willful, knowing, and intentional actions
13   of Defendants against her, Plaintiff has suffered a loss of earnings and other employment
14   benefits and job opportunities, with such damages in amounts to be proven at trial.
15           60.     Plaintiff is informed and believes and based thereon alleges that the conduct of
16   Defendants described above was done with malice, fraud, and oppression and with conscious
17   disregard for her rights and with the intent, design and purpose of injuring her. By reason
18   thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum
19   according to proof at trial.
20                                      THIRD CAUSE OF ACTION
21                 RETALIATION IN VIOLATION OF CAL. LABOR CODE §1102.5
22                                        (Against All Defendants)
23           61.     Plaintiff incorporates the previous paragraphs as if recited fully herein.
24           62.     At all times herein mentioned, California Labor Code, §1102.5, was in full
25   and effect and was binding on the Defendants, and each of them.
26           63.     Plaintiff was an employee of Defendants.
27           64.     Plaintiff is a Black woman.
28


                                                       8
                                         COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS              Document 1-3        Filed 02/16/21       Page 9 of 38 Page ID
                                               #:95




 11          65.     Defendants took adverse employment actions against Plaintiff, including, but
 2    not limited to, repeatedly talking to her about slavery, forcing Plaintiff to chauffer her manager
 3    around the sales area, failing to not give her an earned raise, despite the fact that other non-
 4    Black salespersons at Coloplast had worse sales numbers.
 5           66.     Plaintiff complained to her manager about these adverse employment actions as
 6    discriminatory and harassing.
 7           67.     Racially discriminatory and harassing conduct is unlawful.
 8           68.     Defendant had the power to investigate any unlawful or illegal conduct.
 9           69.     Defendants took further adverse employment actions against Plaintiff, incl
10    but not limited to, reducing Plaintiff's sales territory, and giving it to a white man, failing to
11    not give her an earned raise, and ultimately deciding to end Plaintiff s employment.
12            70.    Plaintiff's report and complaint about unlawful and illegal discriminating and
 13   harassing treatment was a motivating reason for the adverse employment actions of D
 14   against Plaintiff.
 15           71.    Plaintiff was harmed by the actions of Defendants.
 16           72.     The conduct of Defendants was a substantial factor in causing Plaintiff's harm.
 17           73.     As a direct and proximate result of the willful, knowing, and intentional actions
 18   by Defendants against her, Plaintiff has suffered and will continue to suffer economic and non-
 19   economic damages in amounts to be proven at trial.
 20           74.     As a direct and proximate result of the willful, knowing, and intentional actions
 21   of Defendants against her, Plaintiff has suffered a loss of earnings and other employment
 22   benefits and job opportunities, with such damages in amounts to be proven at trial.
 23           75.     Plaintiff is informed and believes and based thereon alleges that the conduct of
 24   Defendants described above was done with malice, fraud, and oppression and with conscious
 25   disregard for her rights and with the intent, design and purpose of injuring her. By reason
 26   thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum
 27   according to proof at trial.
 28


                                                    9
                                          COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS           Document 1-3 Filed 02/16/21               Page 10 of 38 Page ID
                                             #:96




  1                                   FOURTH CAUSE OF ACTION
  2         VIOLATION OF THE CALIFORNIA EQUAL PAY ACT [Cal. Lab. Code §1197.51
  3                                       (Against All Defendants)
  4           76.   Plaintiff incorporates the previous paragraphs as if recited fully herein.
  5           77.   Plaintiff was an employee.
  6           78.   Defendants were employers.
  7           79.   Plaintiff is a Black woman.
  8           80.   Defendants employed other salespersons, including non-Black women and men.
  9           81.   Defendant compensated the non-Black women and men at higher rates than
 10   Plaintiff.
 11           82.   Plaintiff performed or could have performed substantially similar work to the
 12   non-Black women and men Defendant hired.
 13           83.   Plaintiff seeks all remedies afforded under Cal. Lab. Code §1197.5.
 14                                     FIFTH CAUSE OF ACTION
 15                 WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POLICY
 16                                       (Against All Defendants)
 17           84.   Plaintiff incorporates the previous paragraphs as if recited fully herein.
 18           85.   It is the public policy of this state that it is necessary to protect and safeguard
 19   the right and opportunity of all persons to seek, obtain, and hold employment without
 20   discrimination or abridgment on account of race.
 21          .86.   A public policy basis for a wrongful discharge action has been recognized wherf
 22   an employee is discharged after complaining about working conditions or practices which the
 23   employee reasonably believes to be unlawful or illegal.
 24           87.   Plaintiff was employed by Defendants.
 25           88.   Plaintiff complained of unlawful racial discrimination, and Defendants
 26   terminated her employment.
 27   HI
 28   ///

                                                   10
                                         COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS              Document 1-3 Filed 02/16/21               Page 11 of 38 Page ID
                                                #:97




  1            89.     Defendants' termination of Plaintiff's employment was motivated by their bias
  2 ,   against Plaintiff because of her race, her complaint of retaliation, and her request for legal
  3     working conditions.
  4            90.     Defendants' actions were a substantial factor in causing Plaintiff's harm.
  5            91.     As a direct and proximate result of Defendants' willful, knowing, and
  6     intentional actions against her, Plaintiff has suffered and will continue to suffer economic and
  7     non-economic damages in amounts to be proven at trial.
  8            92.     As a direct and proximate result of Defendants' willful, knowing, and
  9     intentional actions against her, Plaintiff has suffered and will continue to suffer a loss of
 lo     earnings and other employment benefits and job opportunities, with such damages in amounts
 11     to be proven at trial.
 12            93.     Plaintiff is informed and believes and based thereon alleges that the conduct of
 13     Defendants described above was done with malice, fraud and oppression and with conscious
 14     disregard for his rights and with the intent, design and purpose of injuring her. By reason
 15     thereof, Plaintiff is entitled to punitive or exemplary damages from Defendants in a sum
 16     according to proof at trial.
 17                                       SIXTH CAUSE OF ACTION
 18                   UNFAIR BUSINESS PRACTICES [Cal. Bus. & Prof. Code & 172001
 19                                          (Against All Defendants)
 20             94.    Plaintiff incorporates the previous paragraphs as if recited fully herein.
 21             95.    Defendants' violations of Title VII, the California Labor Code, and public
 22     policy constitute unfair business practices and violate Unfair Competition Law ("UCL").
 23             96.     The UCL prohibits any practices forbidden by law, be they civil or criminal,
 24     federal, state, or municipal, statutory, regulatory, or court made.
 25             97.    Plaintiff has suffered injury in fact and was deprived of property as a result of
 26     Defendants' unfair business practices, and Defendants have reaped unfair benefits at Plaintiff's
 27     expense.
 28


                                                         11
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS               Document 1-3 Filed 02/16/21              Page 12 of 38 Page ID
                                                 #:98




 1             98.     Plaintiff is entitled to remediation of injury she incurred as a result of
 2      Defendants.
 3             99.     Defendants' unfair business practices entitle Plaintiff to seek preliminary and
 4      permanent injunctive relief, including but not limited to orders that Defendants comply with
 5      legal orders regarding anti-discrimination, anti-harassment and equal pay in the workplace.
 6                                                  PRAYER
  7             WHEREFORE Plaintiff Kim Qualls prays judgment against Defendants as follows:
 8              1.     For economic damages, according to proof;
               2.      For non-economic damages, according to proof;
                3.     For punitive damages, according to proof;
                4.     For injunctive relief, such that Defendants be compelled to provide training on
                       anti-discrimination, anti-harassment, and anti-retaliation measures;
 13             5.     For civil penalties, as allowable by statute;
 14             6.     For attorneys' fees, as allowable by statute;
 15             7.     For pre judgment interest according to proof and as allowable by statute;
 16             8.     For costs of suit incurred; and
 17             9.     For such further relief as the Court deems proper.
 18
        Dated: January 13, 2021                           LAW OFFICES OF ANGEL J. HORACEK, PC
 19

 20
                                                             gel 5. Horge
 21                                                       Attorney for P aintiff Kim Qualls
 22
                                         DEMAND FOR JURY TRIAL
 23

 24
                WHEREFORE Plaintiff Kim Qualls hereby demands a jury trial.

 25     I Dated: January 13, 2021                         LAW OFFICES OF ANGEL J. HORACEK,
 26                                                                                L~.,_._...~
 27 I                                                     Angel J. Hora
                                                          Attorney for Plaintiff Kim Qualls
 28 '

                                                         12
                                            COMPLAINT FOR DAMAGES
Case 2:21-cv-01392-RGK-KS   Document 1-3 Filed 02/16/21   Page 13 of 38 Page ID
                                     #:99




                 EXHIBIT "A"
       Case 2:21-cv-01392-RGK-KS                           Document 1-3 Filed 02/16/21                   Page 14 of 38 Page ID
                                                                   #:100
 EEOC Form 161-B (11116)                   U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                         NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)

To:        Kim Qualls                                                                 From:    Chicago District Office
           c/o Angel J. Horacek, Esq.     (via email)                                          230 S. Dearborn
           Law Offices of Angel J. Horacek                                                     Suite 1866
           5701 W. Slauson Avenue, Suite 210                                                   Chicago, IL 60604
           Culver City, CA 90230


       E-1        On beha/f of person(s) aggrieved whose identity is
                  CONFIDENTIAL (29 CFR §1601.7(a))

 EEOC Charge No.                                         EEOC Representative                                           Telephone No.
                                                         Daniel Lim,
 480-2020-01116                                          State St Local Coordinator                                    (312) 872-9669
                                                                                   (See a/so the additional information enclosed with this form.)
NOTICE TO THE PERSON AGGRIEVED:

Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

       ~          More than 180 days have passed since the filing of this charge.

       Q          Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                  be able to complete its administrative processing within 180 days from the filing of this charge.
       ~          The EEOC is terminating its processing of this charge.

       E-1        The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
       Q          The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                  90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.


       Q          The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                  you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 vears (3 vears) before you file suit may not be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                                                        On behalf of the Commission



                                                                                                                             10/28/20
                                                                ~C~ir.ctwr~~ ~fl-cvywa~ri.~2zva

 Enclosures(s)                                                                                                              (Date Mai/ed)
                                                                       Julianne Bowman, 0
                                                                        District Director

 cc:


               COLOPOLAST CORP
               c/o Kristian Villumsen,   (via email)
               Chief Executive Officer
               1601 West River Road North
               Minneapolis, MN 55411



                                                              EXHIBIT "A"
                Case 2:21-cv-01392-RGK-KS                                  Document 1-3 Filed 02/16/21 Page 15 of 38 Page ID
                                                                                   #:101 R. Carter, Executive Officer/Clerk of Court, by C. Monroe,Deputy Clerk
Electronically FILED by Superior Court of California, County of Los Angeles on 01/13/20N Wr",ftrri

                                                                                                                                                                                    CM-010
                 TORNEY OR PARTY WITHOUT ATTORNEY (Name, State 8ar number, and address):
                                                                                                                                                 FOR COURT USE ONLY
                 Angel J. Horacek (SBN 245680)
                 Law Offices ofAngel J. Horacek, PC
                 5701 West Slauson Avenue, Suite 210 Culver City Califomia 90230

                           TELEPHONE NO.:    310-774-0323                     FAx NO. (Optionaq:        310-774-3945
                     ATTORNEYFOR(Name):
                                             Plalntlff KIm Qualls
               SUPERIOR COURT OF CALIFORNIA, COUNTY OF                        Los Angeles
                STREETADDRESS:           111 North HIII Street
                MAILINGADDRESS:          111 North HIII Street
               CITY AND zIP coDE:        Los Angeles 90012
                     BRANCH NAME:        Central/Stanley Mosk

                CASE NAME:

                                                                                                                                 CASE NUMBER:
                         CIVIL CASE COVER SHEET                                 Complex Case Designation
               FV'] Unlimited                    0         Limited                   Counter                   Joinder              21 ST CW 0 1 49 0
                          (Amount                          (Amount
                                                                          Filed with first appearance by defendant JUDGE:
                          demanded                         demanded is
                                                                              (Cal. Rules of Court, rule 3.402)     DEPT.:
                          exceeds $25,000)                 $25,000)
                                                            Items 1-6 below must be completed (see lnstrucfions on paqe 2).

                1. Check one box below for the case type that best describes this case:
                  Auto Tort                                   Contract                                                       Provisionally Complex Civil Litigation
                     0       Auto (22)                                            Breach of contract/warranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
                     0     Uninsured motorist (46)                        0       Rule 3.740 collections (09)                0      Antitrust/Trade regulation (03)
                     Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                    0      Construction defect (10)
                     DamagelWrongful Death) Tort                          ~        Insurance coverage (18)                   0      Mass tort (40)
                     0       Asbestos (04)                                                                                   0      Securities litigation (28)
                                                                          0        Other contract (37)
                             Product liabilit 24                                                                             0     EnvironmentallToxic tort (30)
                     ~                       y( )                         Real Property
                     0       Medical malpractice (45)                     ~                                                  0     Insurance coverage claims arising from the
                                                                                Eminent domain/Inverse
                                                                                                                                   above listed provisionally complex case
                     0    Other PI/PD/WD (23)                                   condemnation (14)
                                                                                                                                   tYPes (41)
                     Non-PI/PD/WD (Other) Tort                            ~        Wrongful eviction (33)                    Enforcement of Judgment
                     =       Business torUunfair business practice (07)         Other real property (26)                     =      Enforcement of judgment (20)
                              Civil ri9hts ()
                                            08                             Unlawful Detainer
                     0                                                                                                       Miscellaneous Civil Complaint
                     0        Defamation (13)                             0        Commercial (31)                           ~     RICO (27)
                     0       Fraud (16)                                   0       Residential (32)                           0      Other complaint (not specified above) (42)
                     0        Intellectual property (19)                           Drugs (38)
                                                                                                                             Miscellaneous Civil Petition              .
                     ~        Professional negligence (25)                 Judicial Review
                                                                                                                             0      Partnership and corporate governance (21)
                          Other non-PI/PD/WD tort (35)                    0        Asset forfeiture (05)
                     0
                                                                          ~       Petition re: arbitration award (11)        ~      Other petition (not specitied aboveJ (43)
                     Employment
                     ~       Wrongful termination (36)                    0        Writ of mandate (02)
                     [~       Other employment (15)                       0        Otherjudicial review (39)

                2.       This case 0        is       ®      is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
                     factors requiring exceptional judicial management:
                      a. 0        Large number of separately represented parties                   d.        Large number of witnesses
                      b. 0        Extensive motion practice raising difficult or novel             e. 0      Coordination with related actions pending in one or more
                                  issues that will be time-consuming to resolve                              courts in other counties, states, or countries, or in a federal
                                                                                                             court
                      c. 0        Substantial amount of documentary evidence
                                                                                           f.                Substantial postjudgmentjudicial supervision
                3.       Remedies sought (check all that apply): a. [~           monetary b. V             nonmonetary; declaratory or injunctive relief c. E~                      punitive
                4.       Number of causes of action (specify): 6
                5.       This case 0        is       [V]    is not   a class action suit.
               6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
               Date:    January 13, 2021
                              Angel J. Horacek                                                                           /
                                            (TYPE OR PRINT NAME)                                                                               <sAFj7Y OR ATTORNEY FOR PARTY)
                                                                                                                                   (SIGNA URE OF;


                  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
                    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
                    in sanctions.
                 • File this cover sheet in addition to any cover sheet required by local court rule.
                 • If this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
                    other parties to the action or proceeding.
                 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                   Page 1 of 2

               FormAdopted forMandatory Use                                                                                           Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
               Judicial Council of California
                                                                              CIVIL CASE COVER SHEET                                          Cal. Standards of Judicial Administration, std. 3.10
               CM-010 [Rev. July 1, 2007]                                                                                                                                      www.courts.ca.gov
Case 2:21-cv-01392-RGK-KS                                            Document 1-3 Filed 02/16/21                            Page 16 of 38 Page ID
                                                                             #:102

                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                                      CASE TYPES AND EXAMPLES
                                                                  Contract                                          ProvisionallY ComP[ex Civil Liti9ation (Cal.
 Auto Tort
                                                                    Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
    Auto (22)—Personal Injury/Property
                                                                        Breach of Rental/Lease                           Antitrust(frade Re9ulation (03)
        Damage/Wrongful Death
                                                                            Contract (not unlawful detainer              Construction Defect (10)
      Uninsured Motorist (46) (if the
                                                                                   or wrongful eviction)                 Claims Involving Mass Tort (40)
       case involves an uninsured
                                                                         Contract/Warranty Breach—Seller                 Securities Litigation (28)
       motorist claim subject to
                                                                              Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          arbitratfon, check this Item
                                                                         Negligent Breach of Contract/                   Insurance Coverage Claims
          instead ofAuto)
                                                                             Warranty                                         (arising from provisionally complex
    Other PI/PD/WD (Personal Injury/
                                                                         Other Breach of Contract/Warranty                    case type Ilsted above) (41)
    Property Damage/Wrongful Death)
                                                                     Collections (e.g., money owed, open            Enforcement of Judgment
    Tort
                                                                         book accounts) (09)                          Enforcement of Judgment (20)
        Asbestos (04)
                                                                         Collection Case—Seller Plaintiff                 Abstract of Judgment (Out of
          Asbestos Property Damage
                                                                         Other Promissory Note/Col[ections                    County)
          Asbestos Persona[ Injury/
                                                                              Case                                    Confession of Judgment (non-
              Wrongful Death
                                                                     Insurance Coverage (not provisionally                 domestic relations)
        Product Liability (not asbestos or
                                                                         complex) (18)                                Sister State Judgment
            toxic%nvironmental) (24)
                                                                         Auto Subrogation                             Administrative Agency Award
       Medical Malpractice (45)
                                                                         Other Coverage                                   (not unpaid taxes)
           Medical Malpractice—
                                                                     Other Contract (37)                               Petition/Certification of EntrY of
                 Physicians & Surgeons
                                                                         Contractual Fraud                                 Judgment on Unpaid Taxes
       Other Professional Health Care
                                                                         Other Contract Dispute                        Other Enforcement of Judgment
               Ma[practice
                                                                  Real Property                                              Case
       Other PI/PD/WD (23)
                                                                     Eminent Domain/Inverse                         Miscellaneous Civil Complaint
           Premises Liability (e.g., slip
                                                                         Condemnation (14)                             RICO (27)
                 and fall)
                                                                     Wrongful Eviction (33)                            Other Complaint (not specitied
            Intentional Bodily Injury/PD/WD
                                                                     Other Real Property (e.g., quiet title) (26)           above) (42)
                  (e.g., assau[t, vanda[ism)
                                                                         Writ of Possession of Real Property                Dec[aratory Relief Only
            Intentional Infliction of
                                                                         Mortgage Foreclosure                               Injunctive Relief On[y (non-
                 Emotional Distress
                                                                         Quiet Title                                            harassment)
            Negligent Infliction of
                                                                         Other Real Property (not eminent                   Mechanics Lien
                  Emotiona[ Distress
                                                                           domain, landlord/tenant, or                      Other Commercial Complaint
            Other PI/PD/WD
    Non-PI/PD/WD (Other) Tort
                                                                           foreclosure)                                         Case (non-tort/non-complex)
                                                                  Unlawful Detainer                                         Other Civil Complaint
       Business Tort/Unfair Business
                                                                     Commercial (31)                                            (non-tort/non-complex)
           Practice (07)
                                                                     Residential (32)                               Miscellaneous Civil Petition
       Civil Rights (e.g., discrimination,
                                                                     Drugs (38) (if the case involves illegal          Partnership and Corporate
             false arrest) (not civil
             harassment) (08)                                        drugs, check this Item; othenvise,                    Governance (21)
                                                                     report as Commercial or Residential)              Other Petition (not specified
       Defamation (e.g., slander, libel)
                                                                  Judicial Review                                          above) (43)
              (13)
                                                                     Asset Forfeiture (05)                                 Civil Harassment
       Fraud (16)
                                                                     Petition Re: Arbitration Award (11)                   Workplace Violence
       Intellectual Property (19)
                                                                     Writ of Mandate (02)                                  Elder/Dependent Adult
       Professional Negligence (25)
                                                                         Writ—Administrative Mandamus                           Abuse
           Legal Malpractice
                                                                         Writ—Mandamus on Limited Court                    Election Contest
           Other Professional Malpractice
                                                                             Case Matter                                   Petition for Name Change
                 (not medical or legal)
                                                                         Writ—Other Limited Court Case                     Petition for Relief From Late
       Other Non-PI/PD/WD Tort (35)
                                                                             Review                                             Claim
    Employment
                                                                     Other Judicial Review (39)                            Other Civil Petition
       Wrongful Termination (36)
                                                                         Review of Health Officer Order
       Other Employment (15)
                                                                         Notice of Appeal—Labor
                                                                                Commissioner Aopeals
CM-010 [Rev. July 1, 2007]                                                                                                                                  Page 2 or2
                                                                            CIVIL CASE COVER SHEET
~    .           .                      . .        .      •   :       .

~ -..._____,~.._.._..._._      ..._..~......—.__Wm___~......._----.--.....,_,
     Case 2:21-cv-01392-RGK-KS                                      Document 1-3 Filed 02/16/21                                Page 17 of 38 Page ID
                                                                            #:103


    SHORTTITLE:                                                                                                  ASE NUMBER
                      QuaIIS v. COlopiaSt (,orp.
                                                                                                           T


                                 CIVIL CASE COVER SHEET ADDENDUM AND
                                         STATEMENT OF LOCATION
                  (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

I                 This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.                                      I




       Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                     Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


       Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


       Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                     chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.                7. Location where petitioner resides.

2. Permissive filing in central district.                                                      8. Location wherein defendant/respondentfunctions wholly.

3. Location where cause of action arose.                                                       9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                        10. Location of Labor Commissioner Office.
                                                                                              11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.                                  non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                   A                                                                 B:
                       Civil Case Cover $fieet .. :. .                                        Type of Actfon                                      Applicable Reasons -
                             Category No.:: .: ::: :: :..: :                                 (Check only orie)                                     See Step 3 Above

                               Auto (22)                 ❑     A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11


                      Uninsured Motorist (46)            ❑     A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist          1, 4, 11


                                                         ❑     A6070 Asbestos Property Damage                                                     1, 11
                            Asbestos (04)
                                                         ❑     A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11
         1r
      n~
      o ,c              Product Liability (24)           ❑     A7260 Product Liability (not asbestos or toxic%nvironmental)                       1, 4, 11
     0- io
     ~ m
                                                                                                                                                  1, 4, 11
                                                         ❑     A7210 Medical Malpractice - Physicians & Surgeons
     c im             Medical Malpractice (45)                                                                                                    1 4 11
                                                         ❑     A7240 Other Professional Health Care Malpractice
     m
     ~ ~
       o
     o~
     ~                                                   ❑     A7250 Premises Liability (e.g., slip and fall)                                     1, 4, 11
     d ~
     a eam                Other Personal
                                                               A7230 Intentional Bodily Injury/Property DamageNVrongful Death (e.g.,
     d E                  Injury Property                ❑                                                                                        1, 4, 11
     L CO                Damage Wrongful                             assault, vandalism, etc.)
     i5 0                                                                                                                                         1, 4, 11
                            Death (23)                   ❑     A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                  1, 4, 11
                                                         ❑     A7220 Other Personal Injury/Property DamageM/rongful Death




     LASC CIV 109 Rev. 12/18
                                                       CIVIL CASE COVER SHEET ADDENDUM                                                         Local Rule 2.3

     For Mandatory Use
                                                          AND STATEMENT OF LOCATION                                                               Page 1 of 4
 Case 2:21-cv-01392-RGK-KS                               Document 1-3 Filed 02/16/21                                    Page 18 of 38 Page ID
                                                                 #:104


SHORT TITLE:      QUaIIS v. COIOPIast CorIJ.                                                       ASE NUMBER

                                                                                               T

                             A                                                          B                                               C Applicable
                  Civil Case Cover Sheet .          ..        .;.                  Type of Action ..              .::                Reasons - See Step 3
                        Category No:'                                             (Check only one)                                         Above


                    Business Tort (07)         ❑    A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3


                     Civil Rights (08)         ❑    A6005 Civil Rights/Discrimination                                                1, 2, 3


                     Defamation (13)           ❑    A6010 Defamation (slanderllibel)                                                 1, 2, 3


                        Fraud (16)             ❑    A6013 Fraud (no contract)                                                        1, 2, 3


                                               ❑    A6017 Legal Malpractice                                                          1, 2, 3
               Professional Negligence (25)
                                               ❑    A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3


                        Other (35)             ❑    A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3


                Wrongful Tennination (36)      ❑    A6037 Wrongful Termination                                                       1, 2, 3
     c
     a~
     E
     0                                         L`d A6024 Other Employment Complaint Case                                             1,Q2 3
    c.            Other Employment (15)
    E                                          ❑    A6109 Labor Commissioner Appeals                                                 10
     w

                                               ❑    A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful         2, 5
                                                          eviction)
               Breach of Contract/ Warranty                                                                                          2' S
                           (O6)                ❑    A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                     (not insurance)           ❑    A6019 Negligent Breach of ContractNVarranty (no fraud)                           1, 2, 5
                                                                                                                                     1' 2' 5
                                               ❑    A6028 Other Breach of ContractM/arranty (not fraud or negligence)

                                               ❑    A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                     Collections (09)
                                               ❑    A6012 Other Promissory Note/Collections Case                                     5, 11
                                               ❑    A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                          Purchased on or after January 1 2014

                 Insurance Coverage (18)       ❑    A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8


                                               ❑    A6009 Contractual Fraud                                                          1, 2, 3,5

                   Other Contract (37)         ❑    A6031 Tortious Interference                                                      1, 2, 3,5

                                               ❑    A6027 Other Contract Dispute(not breachlnsurance/fraud/negligence)               1, 2, 3, 8, 9

                 Eminent Domain/Inverse        p                                                       Number of parcels             2,6
                                                    A7300 Eminent Domain/Condemnation
                   Condemnation (14)
    N
                  Wrongful Eviction (33)       ❑    A6023 Wrongful Eviction Case                                                     2,6


                                               ❑    A6018 Mortgage Foreclosure                                                       2,6

                 Other Real Property (26)      ❑    A6032 Quiet Title                                                                2,6

                                               ❑    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

               Unlawful Detainer-Commercial                                                                                          6, 11
                                               ❑    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
     d                     (31)
     c
    .~
               Unlawful Detainer-Residential                                                                                         6, 11
     m                                         ❑    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)
    0                       32
     ~             Unlawful Detainer-                                                                                                2, 6, 11
                                               ❑    A6020FUnlawful Detainer-Post-Foreclosure
     4            Post-Foreclosure 34
      m
     c                                                                                                                               2, 6, 11
     ~         Unlawful Detainer-Drugs (38)     ❑   A6022 Unlawful Detainer-Drugs



                                               CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                  AND STATEMENT OF LOCATION                                                          Page 2 of 4
 For Mandatory Use
  Case 2:21-cv-01392-RGK-KS                              Document 1-3 Filed 02/16/21                               Page 19 of 38 Page ID
                                                                 #:105


SHORTTITLE:      Qua118 v. CiOlOplast Corp.                                                             E NUMBER
                                                                                                T

                             A                                                           B                                      C Applicable
                  Civil Case Cover Sheet                             ;             Type of Actioh                            Reasons - See Step:3
                        Category No.                 ;                           (.C.heck onfY ..one)                              Above:


                   Asset ForPeiture (05)        ❑   A6108 Asset Forfeiture Case                                              2, 3, 6


                Petition re Arbitration (11)    ❑   A6115 Petition to Compel/ConfirmNacateArbitration                        2,5
     3
     d
    .~
    ~                                           ❑   A6151 Writ - Administrative Mandamus                                     2,8
     e4                                         ❑   A6152 Writ - Mandamus on Limited Court Case Mafter                       2
    .~             Writ of Mandate (02)
    ~a
     ~                                          ❑   A6153 Writ - Other Limited Court Case Review                             2
    -~

                Other Judicial Review (39)      ❑   A6150 Other Writ /Judicial Review                                        2, 8


              Antitrust/Trade Regulation (03)   ❑   A6003 Antitrust/Trade Regulation                                         1, 2, 8
    e
    0
    C13          Construction Defect (10)       ❑   A6007 Construction Defect                                                1, 2, 3
    rn
    _
    J
                Claims Involving Mass Tort                                                                                   1, 2, 8
    aMi                                         ❑   A6006 Claims Involving Mass Tort
    c.                     (40)
    E
    0
    U            Securities Litigation (28)     ❑   A6035 Securities Litigation Case                                         1, 2, 8
     a
    m                   Toxic Tort
     e                                          ❑   A6036 Toxic Tort/Environmental                                           1, 2, 3, 8
     0
    .y              Environmental (30)
    .≥
     0         Insurance Coverage Claims
                                                ❑   A6014 Insurance Coverage/Subrogation (complex case only)                 1, 2, 5, 8
    a           from Complex Case (41)

                                                ❑   A6141 Sister State Judgment                                              2, 5, 11

                                                ❑   A6160 Abstract of Judgment                                               2,6

                                                ❑   A6107 Confession of Judgment (non-domestic relations)                    2,9
                        Enforcement
                     of Judgment (20)           ❑   A6140 Administrative Agency Award (not unpaid taxes)                     2,8

                                                ❑   A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax           2, 8

                                                ❑   A6112 Other Enforcement of Judgment Case                                 2, 8, 9


                        RICO (27)               ❑   A6033 Racketeering (RICO) Case                                           1, 2, 8


                                                ❑   A6030 Declaratory Relief Only                                            1, 2, 8

                                                ❑   A6040 Injunctive Relief Only (not domestic/harassment)                   2,8
                    Other Complaints
                (Not Specified Above) (42)      ❑   A6011 Other Commercial Complaint Case (non-tort/non-complex)             1, 2, 8

                                                ❑   A6000 Other Civil Complaint (non-torUnon-complex)                        1, 2, 8

                 Partnership Corporation
                                                ❑   A6113 Partnership and Corporate Govemance Case                           2,8
                    Governance (21)

                                                ❑   A6121 Civil Harassment With Damages                                      2, 3, 9

                                                ❑   A6123 Workplace Harassment With Damages                                  2, 3,9

                                                ❑   A6124 Elder/Dependent Adult Abuse Case With Damages                      2, 3, 9
                   Other Petitions (Not
                  Specified Above) (43)         ❑   A6190 Election Contest                                                   2
  :E U                                          ❑   A6110 Petition for Change of Name/Change of Gender                       2, 7
                                                ❑   A6170 Petition for Relief from Late Claim Law                            2 3 8

                                                ❑   A6100 Other Civil Petition                                               2, 9




                                                CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                   AND STATEMENT OF LOCATION                                                 Page 3 of 4
 For Mandatory Use
  Case 2:21-cv-01392-RGK-KS                            Document 1-3 Filed 02/16/21                   Page 20 of 38 Page ID
                                                               #:106


 SHORT TITLE:                                                                          ASE NUMBER
                      QualiS v. ColoplaSt Corp.
                                                                                   p



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
        (No address required for class action cases).

                                                                    ADDRESS:
   REASON:
                                                                     1825 N Robles Avenue
    ❑ 1.N/2. ❑ 3. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10. ❑ 11.



   CITY:                                      STATE:    ZIP CODE:

           Pasadena                               CA    91104

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                      District of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




                 January 13, 2021                                                         1                        ~i~'t✓ """"
                                                                                                                              1        _
  Dated:
                                                                                  (SIGNATURE 4 ATTORNE   ILIN   ARTI)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
                minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                            CIVIL CASE COVER SHEET ADDENDUM                                           Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                               AND STATEMENT OF LOCATION                                                Page 4 of 4
  For Mandatory Use
Case 2:21-cv-01392-RGK-KS                    Document 1-3 Filed 02/16/21              Page 21 of 38 Page ID
                                                     #:107




                                     VOLt3NTARY EFFIClENT LITIGATION STiPllLATtONS




     *qf
     sUWWcounofr.almenas
     CounV oo los Ang®Fusc
                                        Tho Eariy flrgat~i~#lona! ~d~tirtig SUpuBatior~8 Discovery
                                     FtesotuBaon Stipulation, and Motions in Llmine Stiputatian are
                                     voiuntary st3puta#ions entered into tay the parties. The par#ies
                                     may enter into ane, two, or alt three of the stipulatsons;
                                     hsawever, they may not alter the stiputations as writt®n,
                                     because ths Court wants to enscare uniformity of app0ic,aUon.
     Lo:Angeles Co"r4
           AzsoclsUan                These stipulatitins are rnesnt to encssurage cooperat$ora
     0.11120os Secsron

     Losangskscow„                   hetween the parties and to assist in reso(ving 3ssues in a
     8w AsruaciaUori l&ar ~d
     Emplaymnt Lm Sacsu„             manr4er that prornotes econom3c oase resolutton and judicial
                                     efficigrlcy.
          ~~~   ~18~"~f !'!~                                                  •
                0.S@3LPttiA

                                        The following organizagions endorse the goa/ of
     Cora~mas M ornsys
                       Lo: ar4pl®s   promoting africtanc,y in liffgation and ask that counsef
                                     conslder usfng these sEdpar/aUons as a volearsfary way ro
          --           __
                                     prornote coraarnranlcatdons end procedures arraong courrsel
     . ._ r.                         and woth the coaard to farrly resolve rssues pn tlgear cases
     t
                            ~



                                       Los Angeles County Bar Association Litigat#on aectton*
     ~c~9sosaq 6s6lt
     oat~ C.~~v1
                                                ~ Los Angeles County Bar Association
                                                    Labor and Ernpgoyrnent Law Section4o

                                         *Consurraer Attomays Associatistaa o# Los Angates~

                                               +Southeroa Catiforrtia Deferaso Courrsel*

                                             *Associat3on of Busineas Trba! La           ee°s*
     i.:~...~~ .
                ,►~~~~r~n                 <Ka9ifornia Empt~yrreenf B.awYars Ass®csation#

         uAW 230 iNE"
         1ASc Approvad 4-,1
         Fcr OpUannt Use
Case 2:21-cv-01392-RGK-KS                  Document 1-3 Filed 02/16/21                 Page 22 of 38 Page ID
                                                   #:108




      7'hts sttgsuiatton ts iratended to provide a fast and inforrr{aP res€rtution of dIscovery Issues
      through ttnatted papervaork and an irafonraat coaference wtth tfCe Court to aid In the
      resohskton of the Issases.

      The partles agree ttaat-

      1. Pftr to the d6sccsver,y cutwolf ir' this action, no discovery motior: shall be f11ed or heard untess
         the moving fsarty first makes awritten request for an inforrrtal ®iscovery Corifereance pursuant
         to the terms of 1his stipulafion.

      2. At the trafflrmat Discovery Corafesence the Court will constcfer the dispete prasented by parttes
         and determieae whether it can be resotved lnforrnal3y. Nothing set lorih herein wilt prec3ude a
         party frora makirtig a recard at the concicss€ora of an tnforrrsa! C}':scovery Confererace, elttaer
         oratly or° In writing.

     3. t=c:ttovding a reasortable and goad fafth attempt at an informal resolution of eacts issue tc+ be
        pres$nted, a party rrday request an Informa) Discovery Corsfarence paarsuarti to thg fmPlowirtg
        procedures:

              a. The party requestirtig the tnformat piscovery t;onference wiil:

                  i.    Fite aRequast for Jnf'qrmat Eliscovery Conference with the clerk's oMce arl the
                        approved forrn (copy attachecf) and delivet a courtesy, conforrnesf ccspy tca tlte
                        assigried departmerat;

                 ii.    trac9ude a brief surramaey of the dspute ancf specify the raliet requested; and

                lii.    Serve the oppostng pariy purstsartt to any authorized or agreed rnathod 4f service
                        that ensures that tt€e opposing party rsc.eives the Request t'or Informat Discovery
                        Conterance no later than the next caeart day following the flang.

              fs. Any Answer to a Request far lnfam-aal ®6scovery Conference must:

                 i.     Also be iitett on the approved torrrs (copy aftachad);

                 ii.    Includ$ a br₹ef summary of wtty the requested relief shoulci be denied;

     ~c a~r~a~a1:9                 STfPU     3'tt"bN — DISCt3VERY RESOLUTtON
     Ftsr opUonW 4Jse                                                                                 Pagca I of .3
Case 2:21-cv-01392-RGK-KS                     Document 1-3 Filed 02/16/21                     Page 23 of 38 Page ID
                                                      #:109



      6`scsalBCzdd                                                                    ci3£Icri+OER            ~
                                                                                                                      ~




                     iit.   Ce fiied withirt twta {2} court days of receipt of the Request; and
                     iv.    Be served on the opposing party pursuant tca any authorized flr agreed upon
                            rroetttod of service that ensures that the opposing party receives the Answer no
                            tater than the next court day foliowing the fating.

            c. No other pleadings, including but not lirnited to exhibits, dectarations, ar attach►nents, wit€
               be accepted.

            d. tf the Ctaurd has not granted or denied the Request for inforrnaf t3iscvvery Conference
               vuithin ten {1t}} days fottowing the fiting of the Request, then it shait ba deemed to have
               been denieti, if the Court acts on the Request, the parties wiii he nat€tied whether the
               Request for infarrraat €]iscovery Conference has been granted or denied and, lf granted,
               the date and titne of the tnforznat Discovery Canference, which snust be within twenty (2tB)
               days af the fiiing crf the Request for Infooanat Discovery Conference.

            e. If the conferertce €s not hetd Mthin twetaty (20) days of the fiiing of the Request for
               inforrnat Discovery Conference, uniess extended by agreement of the pariles and the
               CQurt, then the Requost for the tnfermat €3ascovery C4nference shaii be deern$d to have
               been denied at that tisne.

      4. tf (a) the Court has denied a conference or (b) one of the tirne deadiines above has expired
         wittaaut the Caurt having acted or (c) the iryforrrsai Disrovery Conference is conctuded without
         resoiving the disputa, thsn a par₹y anay fiie a discovery rriotion to address unresoived €ssues.
      5. The parties her8by further agre$ that the time for rnaking a rro4tion ta cornpet or other
         diszovery motion is toited frc+rn the date of fiing of the Ftaquest for tnforrnat f3iscovery
         Conference untii (a) the request is denied or deemed denied or (b) twenty (2f9) days afier the
         felirg of the Request for informat Discovery Conference, wi`tichever €s eartier, untess extended
         by Ctrder of ttte Gourt.

            €t ts ihe understanding and intent of ihe parties ftt this stipulat€on sha€i, for each discovery
            dlspuute to whic#i it appties, consiitute a writirag mernoriaiizang a"spesiflc tater date to wizich
            the propounding [or dernanding or requesting] party and the responding party have agraed in
            wrPt'ing," within the rcieaning of Code Civli Procedure sections 203Ci.3t•!Q{c), 2f731.32t3(c), and
            2t333.29ti{c}.

      6. Ncthing herein Mii preciude any party fram appiying ex parte for appropriate reiief, lnciuding
         an order shortening t€me for a rraotion to be heard conceming discovery.

      7. Any party rnay terminate this stiputation by g€ving twenty-one {29 } days notice of intent to
         terrninate the stipuiat}on.

     8. References to "days" naean catendar days, untess othennrise raoted. if the date for per3oraning
        any act pursuant to this stipulation faiis on a Saturday. 5unday or C®urt hrniiday, tiaen the taraas
        for perfor¢rting that act shait te extersded to ttte next Court day.



     LY4sC AppsaDn®d {}Ali9           STflPiilt. AT1ON -- FIiSCOVERY RESCLUTiON
     For opt4a3a1 t3ae                                                                                  Fage 2 af 3
Case 2:21-cv-01392-RGK-KS                            Document 1-3 Filed 02/16/21                  Page 24 of 38 Page ID
                                                             #:110



      yeGm7f 1Rtt                                                                         Catt@~L'R




      ihe following paTties stipu6ate>

      f~ste:
                                                                     0
                         (TYPEORPfi1NTNAM9)                                           NZ7             RPWNTd~Fy
      Date:
                                                                     ~
                         ;FYi'E GaR AAlttT t5.~ F                                    iA3SORNEY FCTR DEfENDaasil

                                                                     ..r
                         iTY E CIA PFUsaT t    Ep                                    tA        MEY FCKt OEFENAA4ITF
      C3ate:                                                         ~
                         jTYPE i3R PHtNT 43AA'!Ep                                    IA37        Y dBR ClEFENORSiT}
      I?3ta:                                                         ~
                                                                     ~
                         (T7PE OR f'RftdT MAkM)                            (AS'iDR1dEY Ff3€i                                ~
      Da6e:
                                                                     P
                         {fYPE OFt PSiNli'tdA.t4E)                         dAT'fCR9dEY PCXi                                _t

      ®a#e:
                                                                     ~
                         {SYAB C3r~ 5'ftsMi'BSAME)                         tmrrrmr, vY ~~z,~                                ~




                                                                                                                                    I




      ansc ~~vers a4rt 1                      STIF'U   1'tON -- DISCOVERY RESOLU'i'ION
      For Qptianal Use                                                                                                Rage 3 al 3
Case 2:21-cv-01392-RGK-KS                  Document 1-3 Filed 02/16/21                         Page 25 of 38 Page ID
                                                   #:111




         AKUVITOR A~ b a        ~ u; ^~ ~ ; di a. ; ~   tr,r :!, •    . •..'. s - t~' .. i a     ..z .   ., !~ ~,:
      the litigation' f, i e. assist the partleB In efficient case resolution       .
      The parties agree t13at::

      1. 't'he parties coramit to corzdsact arl initiat conference (in-person or via teteconference or via
         uideoconference) vithin 15 dayss from the date this stiputatton Is signed, to rtisouss end cansider
         whetlaer tf+ere cBn be agreer$terr@ arr the fallowtrag:

         a. Are motions to chatlerage the pteadings necessary? if ttle issc:e can be resolved by
            amendrnerrt as of rtght, nr if the Court avoutd sltow teave to amend, cceuid an am$nded
            carnptairlt rasotve most or afi of the isseres a dernurter might etherMse raise? if so, the parties
            agree to wortc throazgh pleading issues so that a demuerer need onty raise tssues they cannat
            resoive. Is the issue that the defendant seetcs to raise amerabte to resotcotion on demwrer. or
            worstd sorne other type of rnot€on be preferab€e? Coastd a votuntsry targeted excirarage of
            dacuments or informatiora by any party ctsre an uncertainty in the pieadings7

         b. Irlitiai mutuai excharages of dowrnerats at the oeore of the (itigat€oro. (For exarnpte, tn an
            ernpioyrrlealt case, the emptoyrnent records, persortnet hte ard doctarraents retatirg to the
            conduct Ira questiora coutd be considered 'core.® in a personal tnjerry case, an inciderlt or
            poi(ce report, rner9icat records, and repair or mainterlance records coutd be considered
             , core,0).

         c. Exchange of names and contact inforrraatiori of vritnesses;
         d. Any insurance agreernent ttat rnay be avaitabie to satisfy part or ait of a judgrnent, or to
            lndemnify or reirntsurse for payrnents made to satisfy a judgrnent;
         e. Exchange of arly other information that tnight be hetpfut to faciiitate understanding, ttiandMg,
            or resohation of thg case €n a r€aanner that preserves otsjects`ons or priviteges hy agreement;
         f. Controtiing issues ®f iaw that, tf resotved ear3y, wiit pronnote efficisncy and econorny tn ather
            phases of the case. AIso, when and hovu such isstses cara be presented to the Court;
         g. Whether or when the case shouid be schedu9ed with a setltement officer, vrhat discovery or
            court ruting orl iagat isstres is reasoraably requked to naake settteasleast discusstons nleaningfut,
            and whether the parties va€sh to use a sttting Judge or a private rnediator or otiier opt#ons as
     LACIV
     I.ASC ~ B ~y0AJ111      ST1RU       i'IC?N -- trARLY ORGANIZA170MAL MEE°6tNG
     For Op0=t liae                                                                                       pap t of 2
Case 2:21-cv-01392-RGK-KS                     Document 1-3 Filed 02/16/21                         Page 26 of 38 Page ID
                                                      #:112



      WWlf Lu                                                                           OtSEtAsqisi




                discussed ira the "Atternative Dispute Resotution (ADR) isaforrnation F'ackage° served Wisth ft
                cornptatnt;
             h. Ccamputation of daratigges, including doeusnents, not privJteged or protected from disclosure, on
                whtch such oumputstton is based;
             t. Whether the case Is suitatile fer the F.xpedited Jucy Trial psocedures (see inforTnatlon at
                    .laco¢aitom urtder "Crvif and then a.rnder "Cener-a!tnforrrtatt+orr").
      2.        'ihe time fcar a defertding party to respond to a cocrrplainY or oross-cosnpiaint vAlt be extended
                to                            for the complaint, and                                for the crass-
                           (MMERT DAiE)                                          (iHSEffT DATE)
                complaint, which is comprised of the 30 days to raspond under Governrnent Code § 88616(ts),
                ard the 30 days perrnitted by Code of Clvil Procedure sactlon 9 Q64(a), good cause havieag
                bean found by the Civil Supsaevlsing Judge due to the ca.se rnanagement benefits prov€ded byy
                this Stipulation. A copy of the General Osder can be found aY www.lacaud.                tander "CJvir.
                click en pGer:sra6 lnfcr►naPJort", then cllck on `Votuntar,y Efflclen# tftailora S8lpulatians°.
      3.        The parties wili prapare ajoint report titled ®Jolnt Status Report Pursuarat tss Initial Conference
                ar€d Early t7rganizationa6 Meeting Stipulation, and if desired, a proposed esrd®r summariaing
                rssuits of their rrsset and confer and advTsing the Gaurt of any way it may assist the parties'
                efficient coraduct or rasolutlon of ths case, The partlas shaA attach the .8calnt Status Report tn
                the Case Managernent ConEerence staternent, and ite the docuenents ivtten tha CMC
                statemartt is due,

      4.        Rot'arences #o 'days' rrtean calendar days, uniess otherwJse noted, tf ft datr: for perfomning
                any act pursuant to this stipulation falls on a Saturttay, Sunday or C®urt ftoliday, then the time
                for perfoaming ftt act shall bg extended to the next Court day
      `tie fol€ovAng parties stipufate:
      Oat~:
                                                                    :
                   (i'Y'PE OR PRiPTT tdAMEj                                      (A7"CC)RIVEY FOR PIAMI'itFF)
      Oat~:
                                                                    >
                   (7WE OR F&2tidT NAME)                                        (A'i`i'ORNfcY FttEi OEFENDANT)
     OsYe:
                                                                    ~
                  (TYPE OR PRtAtT PlAME)                                        ¢ATt'ORNEY FOFt oEFt±Nt?
     t7ats:
                                                                    ®

                  (TYPE OR PRtNT tdAME)                                         (ATTOi2NEY FDi3 t3EFEPfDANT)
     Date:

                  ti"1°PE OR PRINTNAME)                             '     (ATTC3RNC-Y FOR                            I
     Oate:


                  {TYPE OR PRiAlT NAl4tE)                           '     (A'tTtJRNEY FOR                            9
     Qate:
                                                                    T
                  (iYPt+ OR P€ittQT NAA9E)                                (ATTt7RtdEb' FC}ft                         1


     LAcNzastRovoV's?          STtPU
     u~sc ~rnr~v~a aa~9~                  TiCiN — EARLY C~RG AN1           Tt~'?NAi. ~EE'!'1N G                 pne 2 ®ta
Case 2:21-cv-01392-RGK-KS                            Document 1-3 Filed 02/16/21                              Page 27 of 38 Page ID
                                                             #:113




      'i. Tn3s docur+aent re[ates ta:
                  ~ Request f®r Infarrroat Discnvery Conferertoe
                    Arsswer to Request f®r 1nforrsa3 DtseovM Conference
      2. Deadiine tor Court tu decide on Request:                    (tjrma aaia 10 satandar days fcftMA9 rgmg of
              ft &tequws)
      3. Deedl3ne for Court ta f€o9d infrnmat Riscesvrsry Cor►ference:                                              {tase4 datn go r.asendar
             days [et' owisg fiing of ft Requast).
      Q. For a Request for Irtf€srma9 13iseovery Con€erence, hrlefl doscribe the nature of the
         discovery dispaste, Hrsolud8rag thho facRs ens3 leget ergumerste a# ieeue. For an Answer to
         Reqcaeet fcar Irsformal DiscovM Conferenae, brf~ desortbe uuhy the Court shauld deny
         the request.$d dkscovery, fnclucfing the €act.s and tegal arguraaents at 3ssue.

         t
                                                                                                                                           _
                                                                                                                                           ~

         ~




                                                                                                                                           ~
                                                                                                                                            ~
         6t                                                                                                                                1}

                                                                                                                                           !
         1                                                                                                                                  ~




      LACtYflU(taosw)                         INFORMAL DiSQ;OVERY Ct3NFERENCE
      LASC App`Dvad 04111
      Fwtt~ltt~aalt~s~                {P ur~taerat to the I3iscave*1' F3esott~9lon Stf R utatScrn af ihe Pa€tigs}
Case 2:21-cv-01392-RGK-KS            Document 1-3 Filed 02/16/21                 Page 28 of 38 Page ID
                                             #:114




     The partiea agree 4hat:
      'I. A€ least _      days before the finai status confereRce, each party vASI provide al o6her
          part3es with a iist +eorotaining a one paragraph exptana#iori of each proposed motion in
          lirnine. Each one pamgrraph expianation rntsSt idendfy the substance of a single proposed
          rnotion In limine aead the grounds for the proposed anotton.
     2. The pa€ges thereafter wiif rneet and confer, eithar fn person or via te9econference or
        videoconferenee, ccancerning ai) proposed rnotJons in timine. !n that meet and confer, the
         parties w€li determine:

         a. VUheftr the parties can stipufate to aray af the proposed mtstions. If the part3es so
            stiputate, they rrmay fiie a stipulatiora and proposed ordar with the Couat.
         b. Whetter any of the proposed rnoflons can be briefed and subrrtitted #y rneans of a
            short Ont statement of issues. Frsr each motlon which can be addressed by a short
            joint staternent of issues, a short joint s8atement of issues must be filed with the Court
            10 days prior to the final status conference. Each side's portion of ihe short joint
            statemant og lsst.aes rnay rto9 exceed three pages. The parties witl meet and confer to
            agree on a date and rnanner for excharaging the patties' respectiue portlons oF the
            short jo€nt statamertt of issues and tl'te process fi3r Fiing the short joirtt staternent of
            issues.
     3. Atl proposad motions 3n lirnine that are not either #he subject of a stipulation or briei'ed via
        a short jotraf statenaent of Issues witl be brieted and f'iled in accordance with the Caiifornia
        Ruies of CDurt arid the L®s Angeles Superior Gourt Rules.




     ~sc®~~~ra t         STIPULATION AND ORDER — MOYtONS kFf l...t I r=
     Fori3pgnnalUsa                                                                            paqa 1 ctt2
Case 2:21-cv-01392-RGK-KS                     Document 1-3 Filed 02/16/21             Page 29 of 38 Page ID
                                                      #:115



       JWS Irt1E                                                                -st "T-mt



                                                                            I




      The foiiawisag parties stipsliats:
      Date:
                                                             Y
                    (TYPE OR PRIP2T fdAAAE)                             (ATTGIRNEY TUFt PlJ'+tN -f t;~)
      Dale:
                                                             Y
                    (TYPE OR F'RINT NAF3E)                             (ATTORNEY F`J:3 DEFENDAW )
      Date:

                   (7YPE OR PRItdT tdA4s{E)                  '         (ATTORNEY FOR lQEFEPlDANT)
      Dale:
                                                             Y

                   (TYPE OF2 PRlNT NAF.sE)                             (ATiC3RNEY FOR DEFENDANT)


                                                             Y

                   ('Tl`PE OR PRtA1T iVAME)                       SATTORNEY FOR                                1
      I)o98:
                                                             >
                   (TYPE OR PRIiVT R1ANlE)                        (AT7'4MEY FOR                                )
      l~ate:
                                                             :
                   f i'YPE OR PRNVT (V{tME)                       (ATTORtdEY Ft3R __                           )



      TF3E GaLPR'C St} ®R9?ERS.

       Date:
                                                                                JUf7iCtAl.t7FF6CER .




     tAcava'st r>am
     LASC Apd~rovird 04111    STIPULATtON AN® ORl?ER -- fUtC~TIf~ NS 0Y~ L16'dI1PJE                    Psgo 2 Gt 2
Case 2:21-cv-01392-RGK-KS                      Document 1-3 Filed 02/16/21                      Page 30 of 38 Page ID
                                                       #:116


                                                              ,ptttny,


                                                                         ~

                          Superior Court of California, County of Los Angeles




 VYhat Is aDR?
ADR hetps people find soiutions to their iegal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration and settlement conferences. When ADR is done by phone or computer, It may be called Oniine
Dispute Resoiution (ODR). These "alternatives" to litigation and trial are desaibed beiow.

Advantaees of ADR
      • Saves Time: ADR Is fasterthan going to trial.
      • Saves Money: Parties can save on court costs, attorney's fees and witness fees.
      + Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
      • Reduces stress/protects gsrivacy: ADR is done outside the courtroom, in private offices, by phone or oniine.

Disadvantaees of ADIt
      •    Costs: If the parties do not resoive their dispute, they may have to pay for ADR and litigation and trial.
     •     No Pubiic Triai: ADR does not provide a pubiic triai or a decision by a judge or jury.

Main Tyaes of ADR:

     1. Negotfation: Parties often talk with each other in person, or by phone or online about resoiving their case with a
        settlement agreement instead of a trial. If the parties have iawyers, they wiil negotiate for their clients.

     2. Mediation: tn mediation, a neutrai "mediatoe' lislens to each person's concerns, heips them evaivate the
        strengths and weaknesses of their case, and works with them to try to create a settiement agreement that Is
        acceptabie to aiE. Mediators do not decide the outcome. Parties may go to triai if they decide not to settle.

                      Mediation may be appropriate when the parties
                        • want to work out a sotution but need heip frorn a neutral person.
                        • have communication probiems orstrong emotions that interfere with resolution.
                      Mediation may not be appropriate when the parties
                        • want a pubiic trial and want a judge or jury to decide the outcome.
                        • iack equai bargaining power or have a history of physical/emotionai abuse.
                                                                                                                        lASC3
LASc av 271NE1N 03/19
For Mandatory use
Caiifcmia Rules of court, rule 3.221
Case 2:21-cv-01392-RGK-KS                      Document 1-3 Filed 02/16/21                      Page 31 of 38 Page ID
                                                       #:117




       3. Arbitration: Arbitratfan is tess format than triai, but lii<e triai, the parties present evidence and arguments to the
          person who decides the outcome. In "binding" arbltration, the arbitrator's decision Is final; there ts no right to
          trial. !n °nonbinding° arbitration, any party can request a triai after the arbitrator's decasion. For more
          information about arbltration, visit http://www.courts.ca.izovjproarams-adr.htm

      4. Mandatory Settiement Conferences tMSCj: MSCs are ordered by the Court and are often heid eiose to the triai
         date. The parties and their attorneys meet with a judge or settiement officer who does not make a decEsion but
         assists the parties in evatuating the strengths and weaknesses of the case and in negotiating a setttement.
         For information about the Court's MSC programs for civii cases, visit: www.iacourt.orft/division/civii/settlement




los Angeies Superior Court ADit website: www.lacourt.org/division/clulylettlement
For general inforrnation and videos about AYPR, visit http:tt~r.courts.ca.gov/programs-adr.htrn




                                                                                                                         LA5C2
LASC QV 271 tdEW 03/19
For Mandatasy Use
Cal1[ornla Rules of Coutt, ruk 3.221
 Case 2:21-cv-01392-RGK-KS             Document 1-3 Filed 02/16/21               Page 32 of 38 Page ID
                                               #:118
                                                                                                2019-GEIV-0I4-00
                                                                                    ]FILED
                                                                             Supertor Court of CaIYlbrnia
 1                                                                             Couuty of Los Angeles

 2                                                                                 MAY 03 2019
                                                                         Shetrt Carter,Ea utiveCtQteerlClert
 3
                                                                          13y                     ,Deiuty
                                                                                    tt~ade Mine
4

 5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                   FOR THE COUNTY OF LOS ANGELES
7

 8   IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
     — NIANDATORY ELECTRONIC F1LINf'i )
 9   FOR C1VIL                        )
                                      )
10                                    )
11
12          On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15   Unlimited Civii cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16   All electronicalIy filed documents in Limited and Non-Complex Unlimited cases are subject to the
17   following:

18   1) DEFINPTIONS
19      a) "Eoolntaark" A bookmark is a PDF document navigational tool that allows the reader to
20          quickly locate and navigate to a designated point of interest within a document.
21      b) "Efiling PortaP" The official court website includes a webpage, referred to as the efiling
22          portal, that gives litigants access to the approved Electronic Filing Service Providers.
23      c) "Electronic Envelope" A transaction through the electronic service provider for submission
24          of documents to the Court for processing which may contain one or more PDF documents
25          attached.
26      d) "Electronic Filireg" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27          document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECI'RaNIC FILSNG FQR CIVIL
 Case 2:21-cv-01392-RGK-KS           Document 1-3 Filed 02/16/21              Page 33 of 38 Page ID
                                             #:119
                                                                                             2o19-GEN-o14-00



 1    e) 'Wlectronic Filing Service Provider' An Electronic Filing Service Provider (EFSP) is a
 2       person or entity that receives an electronic filing from a party for retransmission to the Court.
 3       In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
 4       agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
 5    f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
 6       Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
 7       (b)(2), Government Code section 68150, subdivision (g), and Califonua Rules of Court, rule
 8       2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9       process attached to or logically associated with an electronic record and executed or adopted
10       by a person with the intent to sign the electronic record.
11    g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12       in a hypertext or hypermedia document to another in the same or different document.
13    h) "Portabie Docuinent Format" A digital document format that preserves all fonts,
14       formatting, colors and graphics of the original source document, regardless of the application
15       platform used.
16 ~1 2) MANDATORY ELECTRONIC FILING
17    a) Trial Court Records
18       Pursuant to Govenunent Code section 68150, trial court records may be created, maintained,
19       and preserved in electronic format. Any document that the Court receives electronically must
20       be clericaIly processed and must satisfy all legal filing requirements in order to be filed as an
21       official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22    b) Represented Litigants
23       Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24       electronically file documents with the Court through an approved EFSP.
25    c) Public Notice
26       The Court has issued a Public Iriotice with effective dates the Court required parties to
27       electronically file documents through one or more approved EFSPs. Public Notices containing
28       effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.orQ.

                                                         2
                   FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FiLING FOR CIVIL
  Case 2:21-cv-01392-RGK-KS               Document 1-3 Filed 02/16/21              Page 34 of 38 Page ID
                                                  #:120
                                                                                                 2019-GEN-014-00



 1        d) Documents in Related Cases
 2           Documents in related cases must be electronically filed in the eFiling portal for that case type if
 3           electronic filing has been implemented in that case type, regardless of whether the case has
 4           been related to a Civil case.
 5 1 3) EXEMPT LITIGANTS

 6        a) Pursuant to California Rules of Court, rule 2.253(b)(2), self=represented litigants are exempt
 7           from mandatory electronic filing requirements.
 8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
 9           Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10           from filing documents electronically and be pernutted to file documents by conventional
11           means if the party shows undue hardship or significant prejudice.
12 I 4) EXEMPT FILINGS
13'       a) The following documents shall not be filed electronically:
14           i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                  Civil Procedure sections 170.6 or 170.3;
16           ii)    Bonds/Undertaking documents;
17 I         iii)   Trial and Evident9ary Hearing Exhibits
18           iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                  that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20           v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                  electronically filed. A courtesy copy of the electronically filed motion or application to
22                  submit documents conditionally under seal must be provided with the documents
23                  submitted conditionally under seal.
24 I'     b) Lodgments
25           Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26 li paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.

27 I

28 I!1/

                                                               3
                         F1RST AMENDED GENSRAL ORDER RE MANDATORY ELECIRONIC FILING FOR CIVIL
 Case 2:21-cv-01392-RGK-KS               Document 1-3 Filed 02/16/21             Page 35 of 38 Page ID
                                                 #:121
                                                                                               2019-GEN-U1400




1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2       Eiectronic fiiing service providers must obtain and manage registration information for persons
3       and entities electronically filing with the court.
4     6) TECHNICAL REQUIREMENTS
5       a) Electronic documents must be electronically filed in PDF, text searchable format when
6           technologically feasible without impairment of the document's image.
7       b) The table of contents for any filing must be bookmarked.
8       c) Electronic documents, including but not limited to, declarations, proofs of service, and
~'l         exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
            3.1110(fl(4). Electronic bookmarks must inciude links to the first page of each bookmarked
11          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12          bookedmarked item and briefly describe the item.
13      d) Attachments to primary documents must be bookmarked. Examples include, but are not
14          limited to, the following:
15          i)     Depositions;
16          ii)    Declarations;
17          iii)   Exhibits (including exhibits to declarations);
18          iv)    Transcripts (including excerpts within transcripts);
19          v)     Points and Authorities;
20          vi)    Citations; and
21          vii) Supporting Briefs.
22      e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23          encouraged.

24       f) Accompanying Documents
25          Each document acompanying a single pleading must be electronically filed as a separate
26          digital PDF document.
27       g) Multiple Documents
28          Multiple documents relating to one case can be uploaded in one envelope transaction.
                                                              4
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
 Case 2:21-cv-01392-RGK-KS           Document 1-3 Filed 02/16/21               Page 36 of 38 Page ID
                                             #:122
                                                                                              2019-GEN-014-00




1     h) Writs and Abstracts
2        Writs and Abstracts must be submitted as a separate electronic envelope.
3     i) Sealed Documents
4        If and when a judicial officer orders documents to be filed under seal, those documents must be
5        filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6        the documents as sealed at the time of electronic submission is the submitting party's
7        responsibility.
8     j) Redaction
9        Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10       redact confidential information (such as using initials for names of minors, using the last four
11       digits of a social security number, and using the year for date of birth) so that the infonnation
12       shalI not be publicly displayed.
13 17) ELECTRONIC FILING SCHEDULB
14    a) Filed Date
15       i) Any document received eiectronically by the court between 12:00 am and 11:59:59 pm
16           shall be deemed to have been effectiveiy filed on that court day if accepted for filing. Any
17           document received electronicaily on a non-court day, is deemed to have been effectively
18           filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19           Civ. Proc. § 1010.6(b)(3).)
20       ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21           course because of: (1) an interruption in service; (2) a transmission error that is not the
22           fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23           order, either on its own motion or by noticed motion submitted with a declaration for Court
24           consideration, that the document be deemed f led and/or that the document's filing date
25           conform to the attempted transmission date.
26 18) EX PARTE APPLICATIONS
27    a) Ex parte applications and all documents in support thereof must be electronically filed no later
28        than 10:00 a.m. the court day before'the ex parte hearing.
                                                          5
                      FIR3T AMENDED GENERAL ORDER RE MANDATORY ELEC'fRONIC FILING FOR CIV1L
 Case 2:21-cv-01392-RGK-KS            Document 1-3 Filed 02/16/21             Page 37 of 38 Page ID
                                              #:123
                                                                                            2019-GEN-01400




 i     b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3         application must be provided to the court the day of the ex parte hearing.
4    9) PRINTED COURTESY COPIES
5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
 6        be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7         the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8         by 10:00 a.m. the next business day.
 9     b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10        electronic submission) is required for the following documents:
11         i)   Any printed document required pursuant to a Standing or General Order;
12        ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13              pages or more;
14       iii)   Pleadings and motions that include points and authorities;
15        iv)   Demurrers;
16        v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17        vi)   Motions for Summary Judgment/Adjudication; and
18       vii)   Motions to Compel Further Discovery.
19     e) Nothing in this General Order precludes a Judicial Officer from requestdng a courtesy copy of
20        additional documents. Courtroom specific courtesy copy guidelines can be found at
21        www.lacourt.ore on the Civil webpage under "Courtroom Information."
22   0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23     a) Fees and costs associated with electronic filing must be waived for any litigant who has
24        received a fee waiver. (Califomia Rules of Court, rules 2.253(b)Q, 2.258(b), Code Civ. Proc. §
25        1010.6(d)(2).)
26     b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27        section 1010.6, subdivision (b)(6), and Califomia Rules of Court, rule 2.252(f), may be
28         electronically filed in any authorized actfon or proceeding.

                                                           6
                     FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC F7LING FOR CIVIL
 Case 2:21-cv-01392-RGK-KS             Document 1-3 Filed 02/16/21              Page 38 of 38 Page ID
                                               #:124
                                                                                               2aI9-GEN-oI4-oo



li 1) SIGNATURES ON ELECTRONIC FILING
2       For purposes of this General Order, all electronic filings must be in compliance with California
3       Rules of Court, rule 2.257. This Generat Order applies to documents filed within the Civil
4       Division of the Los Angeles County Superior Court.
 5

6           This First Amended General.Order supersedes any previous order related to electronic filing,
7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8    Supervising Judge and/or Presiding Judge,
9

10   DATED: May 3, 2019                                                        ~                     &-
                                                                                                      ,-
                                                          KEVIN C. BRAZILE
11                                                        Presiding Judge
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                            7
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELEC'I'RONIC FILING FOR CIVIL
